Case 2:23-cv-00633-HCN-JCB Document 38 Filed 09/26/23 PageID.13 Page 1 of 3




Larry R. Laycock (4743)
larry.laycock@dentons.com
David W. Tufts (8736)
david.tufts@dentons.com
Madeline A. Hock (16770)
madeline.hock@dentons.com
Landon T. Laycock (17259)
landon.laycock@dentons.com
DENTONS DURHAM JONES PINEGAR, P.C.
111 South Main Street, Suite 2400
Salt Lake City, UT 84111
Telephone: (801) 415-3000
Facsimile: (801) 415-3500

Attorneys for Defendant The Annex, LLC d/b/a Helm Home


                      IN THE UNITED STATES DISTRICT COURT

                         IN AND FOR THE DISTRICT OF UTAH


BARCLAY BUTERA DEVELOPMENT
INC. et al,
                                                    STIPULATED MOTION SETTING
                        Plaintiffs,                DEADLINE FOR DEFENDANT HELM
                                                      HOME’S RESPONSE TO THE
vs.                                                         COMPLAINT

THE ANNEX, LLC, d/b/a HELM HOME
et al,.
                                                     Civil No. 2:23-CV-00633-HCN-JCB
                       Defendants.
                                                         Judge Howard C. Nielson, Jr.



        Defendant The Annex, LLC d/b/a Helm Home (“Helm Home”) by and through its

undersigned counsel, and Plaintiffs Barclay Butera Development, Inc., Barclay Butera, Inc., and

Barclay Butera (collectively “Barclay”) by and through their counsel, hereby stipulate and move



                                               1
UC_6434894.1
Case 2:23-cv-00633-HCN-JCB Document 38 Filed 09/26/23 PageID.14 Page 2 of 3




the Court for an order setting the time for Helm Home to serve its response to Barclay’s

Complaint to October 13, 2023.

        Good cause exists for this stipulated deadline. The current deadline has not passed. Given

the Central District of California’s September 14, 2023 Order Granting in Part and Denying in

Part Defendants’ Motions to Dismiss Plaintiffs’ Complaint for Lack of Personal Jurisdiction

[Dkts. 21, 23] and Transferring Action to the United States District Court for the District of Utah

(Dkt. 30), it is difficult to calculate the deadline by which Helm Home must serve its response to

Barclay’s Complaint. Accordingly, the parties request that the Court grant the stipulated motion

setting a deadline of October 13, 2023 for Helm Home to serve its response to Barclay’s

Complaint, and request that this Court enter the proposed order submitted herewith.

        DATED: September 26, 2023.




                                                 2
UC_6434894.1
Case 2:23-cv-00633-HCN-JCB Document 38 Filed 09/26/23 PageID.15 Page 3 of 3




                                                DENTONS DURHAM JONES PINEGAR, P.C.


                                                /s/ Madeline A. Hock
                                                Larry R. Laycock
                                                David W. Tufts
                                                Madeline A. Hock
                                                Landon T. Laycock
                                                Attorneys for Defendant The Annex, LLC d/b/a
                                                Helm Home

                                                VETHAN LAW FIRM, PC

                                                /s/ Joseph Lanza*
                                                Charles M.R. Vethan
                                                Joseph Lanza
                                                Attorneys for Plaintiffs
                                                * Signature electronically affixed with written
                                                permission




                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 26, 2023 the foregoing was filed with the Court and

served upon all counsel of record via the court’s electronic filing system.



                                                       /s/ Angie Stettler




                                                 3
UC_6434894.1
